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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )      USDC No. 22-cr-89 (APM)
Nancy Barron, defendant.                       )

                             MOTION TO WITHDRAW

       Undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed by this Court under the Criminal

Justice Act, respectfully moves the Court to permit him to withdraw from further representation of the

defendant. Counsel notes the entry of an appearance by John M. Pierce, Esq., this 18th day of November, 2022.

       In the circumstances, counsel moves the Court to permit him to withdraw from further representation of

the defendant, including appearing on defendant’s behalf at the hearing scheduled by videoteleconference

(VTC) for Dec. 7, 2022, at 8:45 o’clock a.m.

       A proposed Order is attached.

       WHEREFORE, the defendant moves the Court to grant said relief.

                                        This pleading is,

                                    Respectfully submitted,

                                               /s/

                                       NATHAN I. SILVER, II
                                       Unified Bar #944314
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                                       Bethesda, MD 20817
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                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on Justin Woodard, Esq.,
U.S. Dept. of Justice - CRM, and John M. Pierce, Esq., this 18th day of November, 2022.

                                                  /s/
                                     _______________________________
                                           Nathan I. Silver, II
